                        Case 3:18-cr-03121-FM Document 1 Filed 10/01/18 Page 1 of 2
AO 442 (REV. 12/85)




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS, EL PASO DIVISION




USA                                                     §
                                                        § CRIMINAL COMPLAINT
vs.                                                     § CASE NUMBER: EP:18-M -07164(1) - LS
                                                        §
(1) Onofre Bautista-Martinez                            §



            I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about September 28, 2018 in El Paso county, in the WESTERN
DISTRICT OF TEXAS defendant did, being an alien to the United States, enter, attempt to enter, or was
found in the United States after having been previously excluded, deported, or removed from the United
States without receiving permission to reapply for admission to the United States from the Attorney General
of the United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States
Code, Sections 202(3), 202(4), and 557

in violation of Title           8           United States Code, Section(s)    1326

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The DEFENDANT, Onofre BAUTISTA-Martinez, an alien to the United States and a citizen of

Mexico was found in the parking lot of the Del Norte Courts Motel located at the intersection of Alameda Ave.

and Boone St. in El Paso, Texas in the

Continued on the attached sheet and made a part of hereof.




Sworn to before me,
                                                                       Signature of Complainant
                                                                       Lopez, Carlos A.
                                                                       Border Patrol Agent

October 01, 2018                                                  at   EL PASO, Texas
Date                                                                   City and State




LEON SCHYDLOWER                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                         Signature of Judicial Officer
                                                                       OATH TELEPHONICALLY SWORN
                                                                       AT 01:00 P.M.
                                                                       FED.R.CRIM.P. 4.1(b)(2)(A)
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CONTINUATION OF CRIMINAL COMPLAINT - EP:18-M -07164(1)

WESTERN DISTRICT OF TEXAS

(1) Onofre Bautista-Martinez

FACTS   (CONTINUED)

Western District of Texas. From statements made by the DEFENDANT to the arresting agent, DEFENDANT
was determined to be a native and citizen of Mexico, without immigration documents allowing him to be or
remain in the United States legally. Defendant has been previously removed from the United States to
Mexico on or about September 22, 2018 through El Paso, Texas. Defendant has not previously received the
expressed consent from the Attorney General of the United States or the Secretary of Homeland Security to
reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
The DEFENDANT has been deported 1 time to MEXICO on September 22, 2018, through EL PASO, TX.

CRIMINAL HISTORY:
On September 19, 2018, in El Paso, Texas,         the DEFENDANT was charged with 8 USC 1325 (a)(2),
misdemeanor and sentenced to Time Served.
